








TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00122-CV






AEP Texas North Company, f/k/a West Texas Utilities Company, Appellant


v.


SPA Pipe, Inc. d/b/a Smith Pipe of Abilene and SPA Pipe &amp; Supply, LP, Appellees






FROM THE DISTRICT COURT OF TOM GREEN COUNTY, 51ST JUDICIAL DISTRICT

NO. A-01-1149-C, HONORABLE BEN WOODWARD, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


	Felipe Hernandez was injured after coming into contact with one of AEP Texas North
Company's ("AEP") power lines, which had snagged on his employer's truck.  At the time,
Hernandez was working for SPA Pipe. (1)  Hernandez sued AEP, and AEP eventually settled with
Hernandez.  As a result of the suit, AEP sought indemnity from SPA Pipe for the settlement and
other costs incurred as a result of the incident.  In response, SPA Pipe filed a motion for summary
judgment contending that AEP was not entitled to indemnification as a matter of law.  The district
court granted the motion, and AEP appeals that determination.  We will reverse the judgment of the
district court and remand the case back to the district court.  


BACKGROUND 

	Hernandez was an employee of SPA Pipe, and John Gutierrez was his supervisor. 
On September 3, 1999, Hernandez and Gutierrez drove to a ranch to pick up two oil tanks that
SPA&nbsp;Pipe had purchased.  In preparation for the trip, SPA Pipe had obtained a permit from the
Texas&nbsp;Department of Transportation allowing SPA Pipe to carry an oversized load up to 17 feet high. 
See Tex. Transp. Code Ann. § 621.207(a) (West 1999) (specifying that "[a] vehicle and its load may
not be higher than 14 feet"); 43 Tex. Admin. Code §§ 28.10-.13 (2008) (allowing individual to
obtain permit for oversized loads). 

	Shortly after Gutierrez and Hernandez loaded the tanks onto SPA Pipe's truck, they
left the ranch and headed for the drop-off site with Gutierrez driving the truck.  Some of AEP's
overhead high-voltage electrical wires crossed the highway that Gutierrez and Hernandez were
traveling on.  See Tex. Health &amp; Safety Code § 752.001 (West 2003) (defining "high voltage" as
meaning more than 600 volts and "overhead line" as meaning "a bare or insulated electrical
conductor installed above the ground").  As they approached one set of power lines, Gutierrez and
Hernandez noticed that some of the lines were hanging low enough that they might catch on the
tanks.  To prevent that from happening, Gutierrez drove slowly underneath the lines, but one of the
lines got caught on one of the tanks anyway. Gutierrez attempted to dislodge the line by slowly
driving the truck back and forth.  Because the line did not release, Gutierrez instructed Hernandez
to climb on top of the truck and physically remove the line from the tank.  Although Hernandez tried
to lift the line off the tank, he was unable to untangle the line.  After determining that Hernandez
would be unable to physically remove the line, Gutierrez began backing the truck up.  This caused
Hernandez to lose his balance and come into contact with one of the other power lines.  As a result
of the contact, Hernandez sustained significant injuries.  No attempt was made to contact AEP until
after Hernandez was injured.  

	It is undisputed that the lines in question were hanging below the minimum height
required by the utilities code.  See Tex. Util. Code Ann. § 181.045(b)(2) (West 2007) (requiring
utility to "construct a transmission line that crosses a highway or road so that the line is at least
22&nbsp;feet above the surface of the traffic lane").  Relying on that fact, Hernandez sued AEP.  He
ultimately settled with AEP. (2)  In response to Hernandez's suit, AEP filed an indemnity claim against
SPA Pipe pursuant to section 752.008 of the health and safety code.  See Tex. Health &amp; Safety Code
Ann. § 752.008 (West 2003).  Essentially, AEP argued that because SPA Pipe did not inform AEP
of its intent to work on the lines before beginning the work and because SPA Pipe began the work
without coming to an agreement with AEP regarding safety measures that could be taken, SPA Pipe
was required to indemnify AEP for the settlement AEP made and other damages AEP sustained.  

	After AEP requested indemnification, SPA Pipe filed a motion for summary judgment
contending that AEP was not entitled to indemnity from AEP.  Specifically, SPA Pipe asserted that
chapter 752 of the health and safety code does not apply to the circumstances of this case. 
Alternatively, it contended that even if chapter 752 applied, the indemnity provision does not apply
when a utility has failed to maintain its power lines above the statutory minimum height.  The district
court granted the motion but did not specify the ground upon which the motion was granted. 
AEP&nbsp;appeals the district court's judgment. (3)   


STANDARD OF REVIEW

	On appeal, AEP contends that the district court improperly granted SPA Pipe's
motion for summary judgment.  We review the decision to grant a summary judgment de novo. 
Valence Operating Co. v. Dorsett, 164 S.W.3d 656, 661 (Tex. 2005).  When, as here, the
district&nbsp;court's judgment does not indicate the grounds upon which the motion was granted, we must
affirm the district court's judgment if any of the grounds presented are meritorious.  Western Invs.,
Inc. v.&nbsp;Urena, 162 S.W.3d 547, 550 (Tex. 2005).  

 	Both parties agree that the relevant facts are not in dispute, and the issues raised in
this appeal involve statutory construction, which is a question of law that is reviewed de novo.  See
Bragg v. Edwards Aquifer Auth., 71 S.W.3d 729, 734 (Tex. 2002); USA Waste Servs. of Houston,
Inc. v. Strayhorn, 150 S.W.3d 491, 494 (Tex. App.--Austin 2004, pet. denied).  When construing
statutes, we must ascertain the legislature's intent in enacting the statutes.  Fleming Foods of
Tex.&nbsp;v.&nbsp;Rylander, 6 S.W.3d 278, 284 (Tex. 1999).  In making this determination, courts should look
to the plain meaning of the words used in the statute.  See Fireman's Fund County Mut. Ins. Co.
v.&nbsp;Hidi, 13 S.W.3d 767, 768-69 (Tex. 2000).  We presume that every word was deliberately chosen
and that excluded words were left out on purpose.  USA Waste Servs., 150 S.W.3d at 494.  When
determining legislative intent, the entire act, not isolated portions, must be considered.  Jones
v.&nbsp;Fowler, 969 S.W.2d 429, 432 (Tex. 1998).  We may also consider the "object sought to be
attained" by enacting the statute and the "consequences of a particular construction."  Tex. Gov't
Code Ann. § 311.023 (West 2005).  Furthermore, if two statutes address the same subject,
they&nbsp;should be read together and harmonized with each other even if the statutes do not refer to
one&nbsp;another.  In re VanDeWater, 966 S.W.2d 730, 732 (Tex. App.--San Antonio 1998,
orig.&nbsp;proceeding).  


STATUTORY FRAMEWORK

	Before addressing the merits of this case, we provide a brief summary of the
provisions of the health and safety code that relate to performing work near overhead power lines. 
The health and safety code mandates that a "person, firm, corporation, or association" (cumulatively
"person"), other than a utility employee, engaged in "temporary work or a temporary activity or
function" (cumulatively "temporary work") that is close to an "overhead line" must "notify the
[utility] at least 48 hours" prior to engaging in the work near the line.  Tex. Health &amp; Safety Code
Ann. §§ 752.002-.03(a) (West 2003).  Moreover, the code forbids a person from beginning the
temporary work unless the person and the utility enter into "a satisfactory mutual arrangement"
regarding safety measures that are to be taken to prevent potential injuries.  Id. § 752.003(b)
(West&nbsp;2003).   For example, the agreement may provide for "temporary de-energization and
grounding, temporary relocation or raising of the line, or temporary mechanical barriers to separate
and prevent contact between the line and . . . the person performing the" temporary work.  Id. 
Further, the code requires the person "responsible for the" temporary work to pay the utility for the
costs associated with "providing clearance" and allows the utility to require payment in advance. 
Id. § 752.003(c) (West 2003).  

	The prohibition against performing temporary work applies to work that is going to
be performed within six feet of a power line.  Id. § 752.004 (West 2003).  In particular, the code
provides that unless a person "effectively guards against danger by contact with the line," the person
"may not perform" temporary work "if at any time it is possible that the person . . . may" be placed
within or bring "any part of a tool, equipment, machine, or material" within six feet of an overhead
line.  Id. § 752.004(a).  Further, the code prohibits a person from transporting structures, tools,
machines, equipment, supplies, or materials "within six feet of a high voltage overhead line."  Id.
§ 752.005 (West 2003).  Finally, the code specifies that an employer "may not require an employee
to perform a function or activity" that would violate the six-foot mandate.  Id. § 752.004(b). 

	The overall intent behind the passage of chapter 752 was to ensure the safety of
individuals engaged in activities near power lines.  Ringo v. Gulf States Util. Co., 569 S.W.2d 31,
35 (Tex. Civ. App.--Beaumont 1978,  writ ref'd n.r.e.).  In light of that intent, the code imposes
criminal penalties for violations of chapter 752, see Tex. Health &amp; Safety Code Ann. § 752.007
(West 2003), and also requires a person that violates chapter 752 to indemnify a utility for any
damage or liability that it sustains as a result of the violation, id. § 752.008 (West 2003).  Concerning
indemnification, section 752.008 provides as follows:


If a violation of this chapter results in physical or electrical contact with a high
voltage overhead line, the person, firm, corporation, or association that committed
the violation is liable to the owner or operator of the line for all damages to the
facilities and for all liability that the owner or operator incurs as a result of the
contact.  



Id.  Essentially, the indemnification provision places "liability for losses resulting
from&nbsp;noncompliance with the notification and safety provisions" on the person responsible "for
having&nbsp;workers near a power line."  Chavez v. City of San Antonio, 21 S.W.3d 435, 439
(Tex.&nbsp;App.--San&nbsp;Antonio 2000, pet. denied).  


DISCUSSION

	As discussed previously, in its summary judgment motion, SPA Pipe asserted
two&nbsp;grounds as to why the district court should rule in its favor.  First, SPA Pipe contended that
chapter 752 of the health and safety code does not apply to this case because those provisions
concern "temporary work" performed near power lines, which cannot include the activity at issue
in this case.  Alternatively, SPA Pipe contended that AEP was not entitled to indemnity under the
health and safety code because it failed to maintain the height of its overhead lines above the 22-foot
height requirement specified in the utilities code.  See Tex. Util. Code Ann. § 181.045(b)(2).  In
other words, SPA Pipe argued that the indemnity provision does not apply to negligent utilities. 
AEP, on the other hand, disputes the propriety of granting summary judgment on either ground.  We
will address these alternative grounds in the order listed.   


The Health and Safety Code Provisions Apply to the Temporary Work Done in this Case

	On appeal, AEP contends that to the extent that the district court's judgment was
based on the ground that chapter 752 did not apply, the district court erred because chapter 752 of
the health and safety code applies to the facts of this case.  SPA Pipe disagrees.  First, SPA Pipe
contends that chapter 752, including the six-foot prohibition, see Tex. Health &amp; Safety Code
Ann.&nbsp;§§&nbsp;752.003-.005, only applies when a person plans in advance to engage in temporary work
and when the person is aware that the temporary work will occur near an overhead power line.  In
other words, SPA Pipe asserts that in order to invoke chapter 752, a person must be aware of the
existence of an overhead line and must engage in a type of temporary work near the line that is
amenable to giving the utility 48 hours notice before commencing the work so that the utility can
make the necessary safety measures and so that the person can make payment arrangements with the
utility regarding the safety measures to be taken. (4)   For example, SPA Pipe asserts that chapter 752
properly applies to activities like painting a building, see Trail v. Friedrich, 77 S.W.3d 508
(Tex.&nbsp;App.--Houston [1st Dist.] 2002, pet. denied), trimming trees, see Chavez, 21 S.W.3d 435, or
working on a billboard, see Whiteco Metrocom, Inc. v. Texas Utils. Elec. Co., 30 S.W.3d 421
(Tex.&nbsp;App.--Dallas 2000, pet. denied).  

	In light of the preceding, SPA Pipe argues that chapter 752 does not apply to the
circumstances of this case.  Although SPA Pipe concedes that it is possible that chapter 752 might
apply to work performed on or near a highway, it argues that it does not apply here because
SPA&nbsp;Pipe did not plan to perform temporary work near the power lines in question.  To the contrary,
SPA Pipe contends that it only accidentally snagged the line as a result of the fact that the line was
below the 22 foot minimum and that it had no prior knowledge that it would be in close proximity
to an overhead line.  Accordingly, SPA Pipe insists that it was not engaged in a type of work that
would have allowed for prior notice to be given to AEP or for an opportunity to ask AEP to make
appropriate safety arrangements, such as de-energizing or raising the overhead lines.  

 	Second, SPA Pipe argues that chapter 752 of the health and safety code does not
apply to the circumstances present in this case because it does not govern "ordinary travel" on
highways or the transportation of oversized loads on highways; instead, SPA Pipe asserts that this
case is controlled by provisions of the transportation code and the administrative code and by the
provision of the utilities code requiring utilities to maintain their power lines at least 22 feet above
the ground.  See Tex. Transp. Code Ann. §§ 621.001-.508 (governing vehicle size and weight and
establishing maximum load height of 14 feet), 622.001-.953 (containing special provisions for
oversize and overweight vehicles), 623.001-.219 (relating to permits for oversize or overweight
vehicles) (West 1999 &amp; Supp. 2008) (5); Tex. Util. Code Ann. § 181.045; 43 Tex. Admin. Code
§§&nbsp;28.1-.102 (2008) (governing oversize and overweight vehicles and loads and containing
provisions allowing for issuance of permits for oversize loads). (6)  Moreover, SPA Pipe notes that
none of those provisions authorize a utility to be indemnified for damages or liability it sustains as
a result of a person's election to travel on a highway or to transport an oversized load on a highway. 
Furthermore, although SPA Pipe acknowledges that the administrative code does require carriers of
oversized loads to "contact utility companies . . .  when it is necessary to raise or lower any overhead
wire . . . or other overhead obstruction," 43 Tex. Admin. Code § 28.11(k)(1)(C) (2008), (7)  SPA Pipe
notes that the code does not contain a specific requirement that an individual notify a utility
beforehand of its plans to carry a load that will come within six feet of an overhead line.  For this
reason, SPA Pipe insists that this obligation is distinct from the obligation to notify a utility
regarding temporary work that may be performed near an overhead line.   

	Finally, SPA Pipe argues that applying chapter 752 to the circumstances in this case
will lead to the absurd result that individuals who plan on traveling on a highway but do not plan on
engaging in temporary work near a power line will nevertheless be required, prior to traveling, to
inform utilities of their travel plans 48 hours in advance if the top of the individuals' vehicles or
loads that they will be carrying will come within six feet of overhead lines and that the failure to
notify will constitute a chapter 752 violation and will subject the individuals to criminal sanctions
even if they were able to safely navigate under the lines.  See Lowe v. Rivera, 60 S.W.3d 366, 369
(Tex. App.--Dallas 2001, no pet.) (stating that statutes should not be construed in manner that leads
to absurd results). (8)  

	At the outset, we note that in this case we are not confronted with the issue of
determining whether chapter 752 applies to individuals engaged in ordinary travel on highways or
even to individuals with oversized loads engaged in ordinary travel on highways.  Rather, we must
determine whether the activities engaged in by SPA Pipe's employees, which amounted to more than
ordinary travel on a highway, constituted temporary work and, therefore, invoked the provisions of
chapter 752.  For this reason, in resolving this case, we need not determine, as encouraged by
SPA&nbsp;Pipe, whether chapter 752 applies to all individuals engaged in "ordinary travel" who drive
vehicles with heights that come within six feet of overhead lines or transport oversized loads with
heights that come within six feet of overhead lines.  

	Although the exact point at which chapter 752 became applicable in this case can be
disputed, there can be no doubt that SPA Pipe's employees engaged in temporary work near an
overhead power line when Gutierrez ordered Hernandez to climb on top of the truck and attempt to
remove the entangled power line.  Whatever else the phrase "person . . . responsible for temporary
work  . . . closer [than six feet] to a high voltage overhead line" may mean, it must include attempts
to remove a power line that has become entangled on a motor vehicle or on a load that the vehicle
was transporting.  See Tex. Health &amp; Safety Code Ann. § 752.003; cf. Travelers Ins. Co. v. L.V.
French Truck Service, Inc., 770 P.2d 551, 553-54 (Ok. 1988) (assuming that employer violated six-foot prohibition when its employees climbed on top of truck in order to attempt to remove overhead
power line that had become snagged on truck).  This conclusion is supported by the language in
section 752.004 that specifically lists "a highway" as a location that temporary work may
not&nbsp;be&nbsp;performed on unless appropriate safety measures are taken.  Tex. Health &amp; Safety Code
Ann.&nbsp;§&nbsp;752.004.  

	Moreover, SPA Pipe's construction of the notification requirement essentially inverts
the intention of that portion of section 752.003.  SPA Pipe argues that because of the need to notify
a utility 48 hours before beginning work, temporary work can only refer to some type of activity that
is planned at least 48 hours before the work will be initiated and does not apply to work that is
unexpected or spontaneous in nature.  In other words, an employer could order its employees to
perform work within six feet of a power line without violating chapter 752 despite failing to
notify&nbsp;the utility of the work provided that the need for the work came about accidentally or
was&nbsp;unexpected. 

	We do not read section 752.003 in this manner.  Rather than limiting the type of work
that was covered by chapter 752, the legislature included the notification provision in order to require
individuals about to engage in work near an overhead line to consult with the utility before carrying
out the potentially life-threatening activity.  In that sense, the fact that an individual did not have
plans to perform temporary work near a power line or unexpectedly became aware of the possibility
that work will have to be performed near an overhead line will not excuse the individual from the
obligation of informing the relevant utility before any work can be initiated. (9)  A contrary construction
would be inconsistent with the important public policy interests of imposing liability on the person
causing work to be performed near a power line and of minimizing the potentially devastating
consequences of performing work near power lines.  

	Moreover, SPA Pipe's construction would, in certain circumstances, also seem to
excuse the notification requirement for the types of work that SPA Pipe insists chapter 752 was
designed to cover.  For example, if an employer was unaware of the existence of an overhead line
when it ordered an employee to engage in construction work but discovered the existence of the
power line during the work, the employer could order the employee to resume the work without any
safety measures being taken and not violate chapter 752.  Because chapter 752 would not apply in
these circumstances, the indemnity provision found in section 752.008 would also not apply, which
would effectively prohibit utilities, even non-negligent utilities, from being indemnified for damages
they sustain as a result of someone engaging in temporary work near their power lines.  We cannot
construe chapter 752 in a manner that would so directly undermine the legislature's intent as
expressed in the clear language of chapter 752.  

	For all these reasons, we believe that chapter 752 applies to the circumstances of this
case.  Id. §§ 752.003-.004. (10)      


The Failure to Comply with Height Requirements Does Not Render Section 752.008 Inapplicable

	On appeal, AEP also contends that the district court erred in granting SPA Pipe's
motion for summary judgment because a utility's failure to maintain its lines above the statutory
minimum does not render the indemnity provision inapplicable or excuse compliance with the
requirements of chapter 752, e.g. the duty to inform a utility prior to beginning work within six feet
of a power line.  SPA Pipe, on the other hand, argues that because the indemnity provision of the
health and safety code and the height restriction of the utilities code both pertain to overhead power
lines, both provisions should be read together and should be read to mean that the indemnity
provision does not apply when a utility fails to satisfy the height obligation found in the utilities
code.  Cf. Sani v. Powell, 153 S.W.3d 736, 744 (Tex. App.--Dallas 2005, pet. denied) (explaining
that statutes that are "in pari materia are to be read and construed together in arriving at the intention
of the legislature").  In other words, SPA Pipe surmises that the indemnity provision only allows
indemnity for "an innocent utility company whose lines were maintained at the proper statutory
height."  Moreover, SPA Pipe asserts that construing the relevant provisions in this manner is the
best way to maximize public safety; otherwise, SPA Pipe urges that there would be no incentive for
a utility to maintain their lines at the required height.  Cf. Ringo, 569 S.W.2d at 35 (noting that
predecessor to chapter 752 was enacted to help ensure "the safety of persons engaged in activities
near high voltage lines").   

	For the reasons that follow, we disagree with SPA Pipe.  First, the language of
section&nbsp;752.008 does not contain qualifications limiting its applicability to situations in which the
utility is without fault.  In fact, the terms of section 752.008 indicate that the provision applies to
situations in which the utility has been at fault to some degree.  See Tex. Util. Code Ann. § 752.008. 
Section 752.008 states, in part, that a utility is entitled to indemnity "for all liability that the [utility]
incurs as a result of" contact with one of its power lines.  Id. (emphasis added).  Because the
provision allows for indemnity "for all liability" incurred by the utility, the provision seems to apply
to circumstances in which the utility's own actions contributed to the damage caused by contact with
one of its lines.  Moreover, we note that if the legislature had intended the provision to only apply
to cases in which the utility was without fault, it could have easily stated so.  

	Second, SPA Pipe's construction is inconsistent with case law addressing the issue
of whether the indemnity provision applies when the utility was negligent.  For example, in
Moore&nbsp;v.&nbsp;Southwestern Elec. Power Co., the court explained that by passing the predecessor to
chapter 752, the legislature intended for a person who violated one of the predecessor's provisions
to indemnify the utility for any liability it sustains as a result of the violation even if the utility was
also negligent.  737 F.2d 496, 500 (5th Cir. 1984), cert. denied, 469 U.S. 1211 (1985); see also Trail,
77 S.W.3d at 513-14 (concluding that because person responsible for work near power line violated
chapter 752 by failing to notify utility of his intent to perform work near power line, he cannot
maintain negligence claim against utility by alleging, among other things, that utility failed to
maintain its lines at proper height); Olson v. Central Power &amp; Light Co., 803 S.W.2d 808, 812
(Tex.&nbsp;App.--Corpus Christi 1991, writ denied) (refusing to apply rule of contract interpretation
prohibiting party from receiving indemnity for its own negligence in statutory indemnity context). 
Similar support can be found in Martinez v. Gulf States Util. Co., 864 S.W.2d 802, 804
(Tex.&nbsp;App.--Houston [14th Dist.] 1993, writ denied).  In that case, the court concluded that the
health and safety code provision requiring that a utility be indemnified applied regardless of whether
the utility had the legal authority to install a power line on the property in question.  Id. at 804.  In
other words, the court reasoned that even if the utility was a trespasser, it was still entitled
to&nbsp;indemnity. (11)   

	Third, construing the relevant statutory provisions in the manner proposed by
SPA&nbsp;Pipe would be inconsistent with the significant public policy concerns that the legislature was
trying to address with the passage of chapter 752.  Essentially, SPA Pipe's construction would place
no obligation on an employer to contact a utility and ask that a utility de-energize a line prior to
ordering one of its employees to engage in potentially life-threatening activities on or near a power
line that has, for whatever reason, fallen below the minimum height required by the utilities code. 
This is contrary to the emphasis the legislature placed on requiring an employer to notify a utility
prior to instructing an employee to begin work that will place the employee within six feet of an
overhead line so that appropriate safety measures can be made to minimize the danger to the
employee of working near overhead lines.  See Tex. Health &amp; Safety Code Ann. §§ 752.003-.004;
see also Kimery v. Public Serv. Co., 622 P.2d 1066, 1071 (Ok. 1980) (noting that public policy of
reducing injuries caused by electric shock is "more effectively served" by placing burden of care on
"persons who engage in activities near power lines" rather than requiring "utilities to maintain
constant surveillance over the thousands of miles of power lines which it maintains").    

	Finally, we disagree with the reasoning of the case primarily relied upon by SPA Pipe
as support for its argument that AEP's failure to maintain its lines above the statutory minimum bars
indemnification under section 752.008.  See Grayson Collin Electric Co-Operative v. Mercer,
No.&nbsp;19,246, 1977 Tex. App. LEXIS 3412 (Tex. Civ. App.--Dallas Sept. 23, 1977) (not designated
for publication); see also Tex. R. App. P. 47.7(b) (explaining that unpublished opinions have no
precedential value).  In Mercer, a pole holding up electrical lines had fallen after a thunderstorm,
which caused the electrical wires to sag.  1977 Tex. App. LEXIS 3412 at *1.  In an attempt to
prevent the wires from entangling his livestock, the property owner, Mercer, attempted to remove
the electrical wires from the fallen pole.  Id.  Prior to purchasing the property, Mercer had been
informed that the wires were inactive, and Mercer had not requested that the wires be energized.  Id.
at *2.  However, the wires were in fact energized, and shortly after attempting to remove the wires,
Mercer sustained significant injuries and eventually died as a result of those injuries.  Id.  After
Mercer died, his widow, Edna Mercer, sued Grayson-Collin Electric Co-Operative ("Grayson"). 
Grayson argued that Edna was not entitled to recover because Mercer had violated the statutory
prohibition against performing "any function or activity" "within six feet of any high voltage
overhead line."  Id. at *5-6, 9.  The appellate court disagreed.  The court determined that the
prohibition against performing work within six feet of any "overhead line" does not apply to lines
that are below the 22 foot minimum because those lines no longer qualified as "overhead" lines.  Id.
at *7-9.  In light of this, the court concluded that a person could not be considered contributorily
negligent per se for coming into contact with those types of lines.  Id. at *8-9; see also Reeder
v.&nbsp;Daniel, 61 S.W.3d 359, 361 62 (Tex. 2001) (explaining that negligence per se is "a common law
doctrine that allows courts to rely on a penal statute to define a reasonably prudent person's standard
of care").  Essentially, the court reasoned that a person cannot violate the statutory prohibition if
he&nbsp;comes in contact with a power line that has fallen below the 22 foot minimum.  Mercer,
1977&nbsp;Tex.&nbsp;App. LEXIS 3412 at *5.  

	Although the utilities code does direct utilities to maintain their power lines above
a certain height, we can find no indication from either the utilities code or the health and safety code
that lines sagging below this minimum no longer qualify as overhead lines.  In fact, the definition
of overhead line found in the health and safety code contains no minimum or maximum height and
simply defines that type of line as "a bare or insulated electrical conductor installed above ground." 
See Tex. Health &amp; Safety Code Ann. § 752.001(2).  Nothing in that definition would seem to render
the safety and indemnification provisions inapplicable to the lines at issue in this case. (12)  More
importantly, adopting the reasoning articulated in the Mercer opinion would directly contravene the
clear legislative directive requiring employers to contact utilities and enter into safety agreements
before requiring their employees to engage in work on or near active power lines and would
encourage rather than discourage the initiation of hazardous work near power lines.  We cannot
construe chapter 752 and the height requirement in a manner that would endanger the health and
safety of employees across Texas.     

	For all these reasons, we conclude that AEP's failure to comply with the minimum
height requirement found in the utilities code does not render section 752.008 inapplicable.  


CONCLUSION

	Having concluded that neither of the two grounds listed in SPA Pipe's motion for
summary judgment support the district court's judgment, we reverse the district court's judgment
and remand for further proceedings consistent with this opinion.  


					__________________________________________

					David Puryear, Justice

Before Justices Puryear, Pemberton and Waldrop

Reversed and Remanded

Filed:   December 12, 2008
1.   The parties in this case disputed whether Hernandez was working for SPA Pipe, Inc. or
SPA Pipe &amp; Supply, LP.  Due to its ultimate resolution of the case, the district court did not have
to determine which entity was Hernandez's employer.  For the purposes of discussion, we will refer
to both parties jointly as "SPA Pipe."  
2.   As part of the settlement, Hernandez was awarded $3,575,000.  
3.   We note that shortly after AEP entered into a settlement agreement with Hernandez and
over a year before SPA Pipe filed its motion for summary judgment, AEP also filed a motion for
summary judgment contending that it was entitled to indemnity as a matter of law.  Nothing in the
record before this Court indicates that the district court ruled on AEP's motion.  Moreover, the
district court's order granting SPA Pipe's motion for summary judgment does not mention AEP's
motion, and AEP's prayer for relief simply asks this Court to reverse the district court's judgment
and remand "for further proceedings" without mentioning its motion for summary judgment.  
4.   In its brief, SPA Pipe asserts that "section 752.003 plainly contemplates the existence of
three circumstances and a sequence of events in order for its provisions to be given effect:  (1) that
temporary work is planned far enough in advance to give a utility 48 hours notice; (2) that the person
responsible for the work is aware of the particular lines and the problems they pose in advance so
they can contact the operator and reach an arrangement to prevent contact with the lines; and (3) that
the person responsible for the work will pay for the utilities expenses."  
5.   We note that none of the provisions of the transportation code governing vehicle size and
oversized loads addresses work performed near overhead power lines.  See Tex. Transp. Code
Ann.&nbsp;§§ 621.001-623.219 (West 1999 &amp; Supp. 2008).  
6.   Further, we note that in its brief, SPA Pipe conceded that the load it was carrying exceeded
the height limitation authorized by its permit and also acknowledged that, as a result, it might not
have been in compliance with all of the requirements of the administrative code because it had not
used an escort vehicle.  See 43 Tex. Admin. Code § 28.11(k)(4)(A) (2008) (requiring front escort
vehicle for loads that exceed 17 feet).  After the tanks were loaded onto a trailer, the height of the
load was 17 feet 10 inches.  
7.   This notification requirement was also specifically included in SPA Pipe's oversized-load&nbsp;permit.  
8.   SPA Pipe also argues that concluding that chapter 752 applies to the circumstances present
in this case will lead to the absurd result that individuals traveling on highways who observe that
their route will place their vehicles within six feet of overhead power lines will have to pay utilities
that use those lines to raise the lines even if the lines have fallen below the 22 foot requirement found
in the utilities code.  See Tex. Util. Code Ann. § 181.045(b)(2) (West 2007) (minimum height);
Tex.&nbsp;Health &amp; Safety Code Ann. § 752.003(c) (West 2003) (requiring person responsible for work
to pay utility "the actual expense incurred by the operator in providing the clearance").  Although
when construing statutes, we are required to read statutes as a whole, we are also limited by the facts
as they are presented in an appeal.  In this appeal, we are not confronted with making a determination
regarding what party will have to pay for the safety arrangements taken when a power line has fallen
below the statutory minimum height.  For this reason, any determination regarding that issue would
constitute an advisory opinion, which courts are prohibited from issuing.  Brooks v. Northglen Ass'n,
141 S.W.3d 158, 164 (Tex. 2004) (explaining that separation of powers provision bars issuance of
advisory opinions).   
9.   We also note that although the health and safety code requires a person to inform a utility
"at least 48 hours before" he intends to engage in temporary work near a power line, see
Tex.&nbsp;Health&nbsp;&amp; Safety Code Ann. § 752.003, we can find nothing in the statute that prevents a utility
from taking adequate safety measures before the end of the 48-hour notice period.  In other words,
the utility is not prevented from taking adequate safety precautions until 48 hours after receiving
notice and may, instead, undertake appropriate safety measures, including de-energizing power lines,
at any time.  
10.   SPA Pipe also asserts that determining whether an individual is performing temporary
work involves consideration of whether the individual has control over the premises that the work
will be performed on and further asserts that chapter 752 should not apply in this case because there
was no work site and, accordingly, because its employees could not have had sufficient control over
a work site.  As support for that assertion, SPA Pipe relies on Hullum v. Skyhook Corp., 753 F.2d
1334 (5th Cir. 1985).  In that case, the court had to determine whether Exxon could be held liable
for a violation of the predecessor to chapter 752 when it hired an independent contractor to install
a sign on the premises of a gas station that sold Exxon's products but was not owned by Exxon.  The
court determined that the phrase "person . . . responsible for work to be done" found in the statute
meant that the person must possess some degree of control over the work site before application of
the statute was proper.  Id. at 1337-38.  In reaching its conclusion, the court reasoned that "[f]ocusing
liability on those parties who exercise some degree of control over the work site furthers the Texas
legislature's policy of worker safety since those parties determine where the work is to be done;
those parties are the ones most likely to know whether or not the work will be performed near a
power line." Id. at 1337.  


	Although the Hullum court relied on the concept of a "work site" when making its
determination, that concept is not found in the predecessor statute or in chapter 752.  This absence
was discussed in another independent contractor case that was decided after Hullum.  See
Trail&nbsp;v.&nbsp;Friedrich, 77 S.W.3d 508, 512 (Tex. App.--Houston [1st Dist.] 2002, pet. denied).  In Trail,
the court noted that both sets of statutes focus on the "person" responsible for temporary work and
explained that although "the person responsible for the work may also exercise some control over
the work site, another person, such as the owner of the premises, may have some control over the
work site and yet have nothing whatever to do with the work except to authorize it and pay the
contractor."  Id.  In light of this, the court concluded that Hullum was limited to its facts and
concluded that the independent contractor was the person responsible for the work.  Id. at 512-13.


	For these reasons, SPA Pipe's reliance on the concept of a "work site" in relation to chapter
752 is problematic.  However, even assuming that courts should consider whether a person had some
degree of control over a "work site" as part of its determination of whether it is a person responsible
for temporary work, resolution of that issue would be factually intensive.  In light of the fact that the
temporary work to be performed in this case was the removal of the power line from the tank located
on SPA Pipe's truck and that SPA Pipe's employees had knowledge of the location and the type of
work to be performed, had assumed responsibility for when and how the work was to be performed,
and had control over the operation of their truck, we would conclude that there was a fact issue
regarding whether the requisite control over a work site was satisfied here.  Cf. Chavez v. City of
San&nbsp;Antonio, 21 S.W.3d 435, 439 (Tex. App.--San Antonio 2000, pet. denied) (explaining that
imposing liability on person who exercises "'some degree of control' over the work site" is proper
because that party has "knowledge of where the work is to be done and, therefore, will most likely
know whether or not the work will be performed near a power line" and further explaining that
appropriate factors to consider in work site determination are who had knowledge of type and
location of work to be done, who had assumed responsibility for when and in what manner work
would be performed, and who was present when work was performed); see also Cathey v. Booth,
900 S.W.2d 339, 341 (Tex. 1995) (noting that to be entitled to summary judgment, movant must
show that there is no genuine issue of material fact).  Accordingly, we would conclude that summary
judgment could not have been granted in SPA Pipe's favor on this issue.  
11.  This construction is also supported by case law from Arizona, which has a similar
indemnification statute.  For example, in Tucson Elec. Power Co. v. Dooley-Jones &amp; Assocs., the
court explained that by passing the indemnity statute, the Arizona legislature intended for utilities
to be indemnified even if the utilities' negligence contributed to the damage sustained.  746 P.2d
510, 512-13 (Ariz. Ct. App. 1987); see also Ariz. Rev. Stat. § 40-360.44 (1999) (stating that person
who violates statute and causes "contact with any high voltage overhead line . . . is liable to the
public utility operating the high voltage overhead line for all damages to the facilities and all costs
and expenses, including damages to third persons, incurred by the public utility as a result of the
contact").  Similar support can also be found in case law from Georgia.  Rather than provide for
indemnity, the relevant statute in Georgia excuses a utility from liability altogether.  In particular,
the statute provides that a utility "shall not be liable for damage or loss to person or property
resulting from work within ten feet of high voltage lines unless notice has been given."  Ga. Code
Ann. § 46-3-39.  When interpreting this provision, the court in Williams v. Mitchell County Elec.
Membership Corp. explained that the statute confers immunity even if the utility fails to maintain
its lines at the required height.  566 S.E.2d 356, 360-61 (Ga. Ct. App. 2002), aff'd 582 S.E.2d 107
(Ga. 2003).  
12.   We also note that the circumstances that the Mercer court was confronted with are
different than the ones presented in this case.  See Grayson-Collin Electric Co-Operative v. Mercer,
No. 19,246, 1977 Tex. App. LEXIS 3412 (Tex. Civ. App.--Dallas Sept. 23, 1977) (not designated
for publication).  The Mercer case did not directly address the indemnity provision at issue in this
case because the utility in Mercer was not seeking indemnification for liability it sustained as a result
of a violation of the health and safety code.  See Tex. Health &amp; Safety Code Ann. § 752.008. 
Moreover, in reaching its resolution in that case, the Mercer court noted that Mercer owned the land
on which the pole had fallen and emphasized the potential inequity of denying any recovery to a
landowner attempting to "protect his property from the danger of a fallen line, even though the
landowner might be careful to avoid any contact with the wires."  Mercer, 1977 Tex. App.
Lexis&nbsp;3412 at *9.  Those concerns are not present in this case.  


